                        In the
                   Court of Appeals
           Second Appellate District of Texas
                    at Fort Worth
                 ___________________________
                      No. 02-23-00405-CV
                 ___________________________

               ANNTINA CHEATHAM, Appellant

                                 V.

ALISETTY INVESTMENTS LLC C/O HARIKISHORE ALISETTY, Appellee



             On Appeal from County Court at Law No. 1
                      Tarrant County, Texas
                  Trial Court No. 2023-006131-1


                Before Kerr, Birdwell, and Bassel, JJ.
               Memorandum Opinion by Justice Kerr
                           MEMORANDUM OPINION

      On June 26, 2024, we received from pro se Appellant Anntina Cheatham a

document that we construed as an appellant’s brief. On July 12, 2024, we notified

Cheatham that her brief did not conform with Texas Rules of Appellate Procedure

9.4(i)–(j)(1), 9.5, and 38.1(a)–(k) and with Second Court of Appeals Local Rule 1.A.

See Tex. R. App. P. 9.4(i)–(j)(1), 9.5, 38.1(a)–(k); 2d Tex. App. (Fort Worth) Loc. R.

1.A. We directed Cheatham to file an amended brief complying with those rules no

later than July 22, 2024. See Tex. R. App. P. 9, 38; 2d Tex. App. (Fort Worth) Loc. R.

1. We also warned her that if she did not do so, we could strike her noncompliant

brief and dismiss the appeal. See Tex. R. App. P. 38.8(a), 38.9(a), 42.3. We have

received no response.

       Because Cheatham has failed to file a rule-compliant amended brief after we

afforded her an opportunity to do so, we strike her brief and dismiss this appeal for

want of prosecution. See Tex. R. App. P. 38.8(a)(1), 38.9(a), 42.3(b), 43.2(f).




                                                        /s/ Elizabeth Kerr
                                                        Elizabeth Kerr
                                                        Justice

Delivered: August 22, 2024




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